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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

ERIC LASSAIR, ET AL                          *       CIVIL ACTION NO. 19-11377

                                                SECTION “H” (1)
VERSUS
                                                    JUDGE JANE TRICHE MILAZZO
CITY OF NEW ORLEANS, ET AL
                                             *       MAGISTRATE VAN MEERVELD

*      *       *      *       *       *      *

           CITY OF NEW ORLEANS’ MEMORANDUM IN OPPOSITION TO
               PLAINTIFFS’ MOTION FOR LEAVE TO FILE SECOND
           SUPPLEMENTAL AND AMENDED COMPLAINT (REC. DOC. 66)

       Defendant, the City of New Orleans, files this opposition to Plaintiffs’ Motion for Leave

to File Second Supplemental and Amended Complaint because (1) Plaintiffs are not entitled of

right at this time to file their Second Amended and Supplemental Complaint; and (2) Plaintiffs’

Second Supplemental and Amended Complaint does not address or cure the City of New

Orleans’ previously filed and pending Rule 12(b)(6) Motion to Dismiss and, therefore, the City

of New Orleans objects to Plaintiffs’ Second Supplemental and Amended Complaint to the

extent that it may be asserted to render moot that which it does not even address, namely, the

City’s Motion to Dismiss and to its attempt to bring in an additional party defendant prior to the

Court’s ruling on the City’s Motion to Dismiss.

       On August 1, 2019, the City filed its Rule 12(b)(6) Motion to Dismiss. Rec. Doc. 16.

The City’s Motion to Dismiss was argued and taken under submission by the Court on October

31, 2019 (Rec. Doc. 59), with no ruling issued as of this time.

       Plaintiffs filed their Motion for Leave to File Second Supplemental and Amended

Complaint on November 15, 2019 (Rec. Doc. 66), a date well more than twenty-one (21) days
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after the August 1, 2019 service of the City’s Motion to Dismiss. Because more than 21 days

have passed since service of the City’s Motion to Dismiss, Plaintiffs do not have a right to amend

their Complaint as a matter of course and may only do so with leave of Court. F.R.Civ.P., Rule

15(a)(1). The City respectfully submits that leave should not be granted at this time for the

reasons next addressed.

       Plaintiffs’ proposed Second Supplemental and Amended Complaint does not address or

cure the City’s Motion to Dismiss for failure to state a claim under the Price Anderson Act; it

merely seeks to add an additional party. Rec. Doc. 66-2. Nonetheless, the City is mindful that

this Court has stated that “many district courts – including this Court – routinely deny as moot

motions to dismiss that are filed prior to an amendment of a complaint.” Jerome Morgan vs.

Harry Connick, et al, U.S. E.D. La. Civil Action No. 17-5319 (Rec. Doc. 39), citing Jefferson

Cmty. Health Care Centers, Inc. v. Jefferson Par. Gov’t, No. 16-12910, 2016 WL 4429953, at *2

(E.D. La. Aug. 22, 2016). The Court in Jefferson Cmty. Health Care Centers, Inc., supra at *2,

further explained:

               Although courts may address the merits of a motion to dismiss
               even after an amended complaint is filed, as a general rule, “if
               applying the pending motion to the amended complaint would
               cause confusion or detract from the efficient resolution of the
               issues, then it makes sense to require the defendant to file a new
               motion specifically addressing the amended complaint.” (Internal
               citations omitted.)

       The City does not believe that applying the City’s Motion to Dismiss to the proposed

Supplemental and Amended Complaint would cause confusion or detract from the efficient

resolution of the issues since the proposed Supplemental and Amended Complaint does not cure,

much less even address, the Price-Anderson Act pleading deficiencies in Plaintiffs’ Complaint

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raised by the City’s Motion to Dismiss. Nonetheless, the City opposes Plaintiffs’ filing of its

Supplemental and Amended Complaint prior to the Court’s ruling on the City’s Motion to

Dismiss if it is being urged solely to render the City’s Motion moot. The City also objects to

leave being granted at this time and respectfully submits that as a matter of judicial efficiency the

Court should wait to see whether the City’s Motion to Dismiss may be granted and Plaintiffs’

Complaint dismissed and/or Plaintiffs ordered to amend their Complaint before adding another

party defendant to this proceeding, which, again, is the sole purpose of Plaintiffs’ Second

Supplemental and Amended Complaint.

        For the above and foregoing reasons, the City of New Orleans respectfully prays that

Plaintiffs’ Motion for Leave to File Second Supplemental and Amended Complaint be denied at this

time.

                                      Respectfully submitted,

                                      Michael J. Laughlin_________________________
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 25, 2019, I electronically filed the above and foregoing

pleading with the Clerk of Court using the CM/ECF system which will send a notice of

electronic filing to counsel for all parties.

                                     Michael J. Laughlin
                             __________________________________
                                   MICHAEL J. LAUGHLIN




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